        Case: 3:18-cv-00860-jdp Document #: 35 Filed: 04/15/19 Page 1 of 8



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


 MICHAEL J. BROOME,

                              Plaintiff,
        v.                                                        OPINION and ORDER

 KOHN LAW FIRM, S.C. and JASON DONALD                                  18-cv-860-jdp
 HERMERSMANN,

                              Defendants.


       This is a case brought under the Fair Debt Collection Practices Act. In his complaint,

plaintiff Michael J. Broome alleged that defendants Kohn Law Firm, S.C. and Jason Donald

Hermersmann violated the FDCPA by filing a debt-collection lawsuit against him in the wrong

venue. See Oliva v. Blatt, Hasenmiller, Leibsker & Moore LLC, 864 F.3d 492 (7th Cir. 2017); Suesz

v. Med-1 Sols., LLC, 757 F.3d 636 (7th Cir. 2014). The court entered judgment for $2,500

after Broome accepted defendants’ offer of judgment.

       Now Broome’s counsel have filed a motion for $18,058.25 in attorney fees and $446

in costs. Dkt. 12. Defendants do not oppose counsel’s request for costs, so the court will grant

that aspect of counsel’s motion as unopposed. As for counsel’s fee request, defendants make

three alternative proposals: (1) deny counsel’s request in full because counsel hasn’t shown that

Broome consented to representation; (2) award $1,735 for time expended before defendants

made a settlement offer in April 2018; or (3) award $2,595 for all of counsel’s time to reflect

awards in other cases.

        For the reasons discussed below, the court will grant the fee petition in full. Although

there may have been ways that counsel could have reduced their fees, the court concludes that

the claimed rates and hours are reasonable overall, particularly in light of defendants’ own
           Case: 3:18-cv-00860-jdp Document #: 35 Filed: 04/15/19 Page 2 of 8



aggressive litigation tactics. The court will also approve counsel’s supplemental request for an

additional 11.5 hours of work to respond to defendants’ 26-page opposition brief.



                                           ANALYSIS

       The parties do not dispute that the counsel of a prevailing plaintiff is entitled reasonable

fees under the FDCPA. See 15 U.S.C. § 1692k(a)(3). The court uses a lodestar method to

determine a reasonable fee, multiplying the number of hours reasonably expended on the

litigation by a reasonable hourly rate. Pickett v. Sheridan Health Care Ctr., 664 F.3d 632, 639

(7th Cir. 2011). Defendants challenge both the rates and the amount of time claimed by

counsel.

A. Retainer agreement

       As a threshold matter, defendants question whether Broome’s counsel are entitled to

any fees because counsel failed to submit “evidence establishing that Plaintiff agreed to their

services and/or rates, or that he was even aware of their involvement.” Dkt. 27, at 4–5. But

Broome submitted a declaration with his reply brief in which he says that he retained each of

the lawyers included in the fee petition and agreed to pay the requested rates. Dkt. 32, ¶¶ 4–

5. So that objection is moot.

B. Rates

       Broome’s counsel requests different hourly rates for three different lawyers: for

DeVonna Joy, $450; for Nicholas Fairweather, $355 for work performed in 2018 and $400 for

2019; for Michael Godbe, $225 for 2018 and $250 for 2019. In support of her rate, Joy relies

on the following:

             •   she has more than 31 years of legal experience and “exclusively practice[s]
                 consumer protection law,” Dkt. 14, ¶ 2;

                                                2
        Case: 3:18-cv-00860-jdp Document #: 35 Filed: 04/15/19 Page 3 of 8




           •   in affidavits, three other experienced Wisconsin consumer lawyers report that
               their hourly rates are between $400 and $475, Dkt. 20; Dkt. 24; Dkt. 26;

           •   in affidavits, two former clients aver that they paid Joy an effective rate of $450
               an hour out of settlements they received, Dkt. 18 and Dkt. 21;

           •   according to the Consumer Law Fee Report, the median hourly rate for a lawyer
               with Joy’s experience is $425.

       In support of his rate, Godbe relies on the following:

           •   he has been practicing for more than two years and has been with Hawks
               Quindel since obtaining his license, Dkt. 15, ¶¶ 3–4;

           •    his requested rates are his standard hourly rates; in the underlying state court
               action, Broome paid Godbe an hourly rate of $225, id., ¶¶ 6, 9;

           •   other lawyers state in affidavits that Godbe has a “great reputation” in the legal
               community and is a “rising star in consumer protection law,” Dkt. 26, ¶ 14 and
               Dkt. 20, ¶ 9;

           •   according to the Consumer Law Fee Report, the median hourly rate for a lawyer
               with Godbe’s experience is $250.

       In support of his rate, Fairweather relies on the following:

           •   he is a shareholder at the firm Hawks Quindel, S.C. and has 18 years of
               experience practicing law, Dkt. 17, ¶ 3;

           •   his requested rates are his standard hourly rates, id., ¶ 4;

           •   according to the Consumer Law Fee Report, the median hourly rate for a lawyer
               with Fairweather’s experience is $475.

       This court has observed in past cases that the most persuasive evidence of

reasonableness is the hourly rate that clients actually pay, both to the counsel in that case and

to other lawyers in the relevant market. Moffat v. Acad. of Geriatric Physical Therapy, No.

15-cv-626-jdp, 2017 WL 4217174, at *5 (W.D. Wis. Sept. 20, 2017); Koziara v. BNSF Ry.

Co., No. 13-cv-834-jdp, 2016 WL 4435299, at *2 (W.D. Wis. Aug. 19, 2016). Because



                                                3
          Case: 3:18-cv-00860-jdp Document #: 35 Filed: 04/15/19 Page 4 of 8



Broome’s counsel have submitted both types of evidence, the court is persuaded that their rates

are reasonable. See also Swike v. Med-1 Sols., LLC, No. 17-cv-1503-JMS-MPB, 2018 WL

2126520, at *3 (S.D. Ind. May 9, 2018) (approving hourly rates of more than $500 for

experienced FDCPA lawyers and $295 for less experienced lawyer).

         In arguing that the court should reduce counsel’s rates, defendants provide the affidavit

of another lawyer, Michael Greiber, who practices in Portage, Wisconsin. Greiber says that

“[a]n hourly rate in excess of $200 per hour is . . . unreasonable.” Dkt. 28, ¶ 4. But it is not

clear what Greiber’s foundation for that statement is. He doesn’t attach a curriculum vitae to

his affidavit and he doesn’t say how many consumer law cases he has litigated on behalf of

plaintiffs. His website states that his areas of practice are “real estate, business, bankruptcy,

wills, probate disputes & personal injury.”1 He says nothing about consumer law. And he has

appeared in this court only once, representing the defendant in a contract dispute. See Volvo

Financial Servs. v. Southwest Logisitics, Inc., No. 15-cv-357-wmc (W.D. Wis.). So that affidavit is

simply not sufficient to overcome the presumption of reasonableness to which Broome’s

counsel is entitled. See Boehm v. Martin, No. 15-cv-379-jdp, 2017 WL 5186468, at *5 (W.D.

Wis. Nov. 8, 2017) (“[A]ctual billing rates . . . are presumptively reasonable.”).

C. Hours

         Broome’s counsel seeks fees for 22.9 hours of Vos’s work ($10,305), 32.25 hours of

Godbe’s work ($7,433.75), and .9 hours of Fairweather’s work ($319.50). Defendants raise

numerous objections to the reasonableness of these hours.




1
    “Welcome to Greiber Law SC,” available at http://greiberlaw.com/.


                                                 4
         Case: 3:18-cv-00860-jdp Document #: 35 Filed: 04/15/19 Page 5 of 8



         1. Work performed after April 19, 2018

         Defendants contend that Broome’s counsel should not be awarded fees for any work

performed after defendants offered to settle this case for $2,500, inclusive of fees and costs.

They rely on Moriarty v. Svec, 233 F.3d 955, 967 (7th Cir. 2000), which states that

“[s]ubstantial settlement offers should be considered by the district court as a factor in

determining an award of reasonable attorney’s fees, even where Rule 68 does not apply.”

Because Broome ultimately accepted a $2,500 offer of judgment, defendants say that their

previous offer to settle the case for $2,500 should be viewed as substantial.

         Defendants’ argument has surface appeal, but it overlooks an important difference

between the original and accepted offer, which is that the first offer included fees and costs. At

that point, Broome’s counsel says that it had accumulated $2,700 in attorney fees. Even

defendants seem to acknowledge that plaintiffs incurred at least $1,735 in fees at that time

because that is the amount that defendants say that the court should award Broome’s counsel

for time incurred before April 19, 2018.

         Defendants say that their original settlement was enough to make Broome whole, so it

was not in his interest for counsel to continue fighting over fees. But that is an overly simplistic

view. As Broome’s counsel points out, Broome was obligated under his retainer agreement to

pay counsel out of his settlement. So accepting the settlement would have meant that Broome

would receive no settlement or one that was greatly reduced.

         Under these circumstances, the court concludes that defendants’ original settlement

offer was not substantial, so the court declines to reduce counsel’s fee for refusing to accept the

offer.




                                                 5
         Case: 3:18-cv-00860-jdp Document #: 35 Filed: 04/15/19 Page 6 of 8



         2. Other objections

         Defendants raise objections to almost every aspect of the work that Broome’s counsel

performed, including the time they spent researching the law while preparing the lawsuit,

drafting the complaint, considering the offer of judgment, and drafting the fee petition.

Defendants’ scrutiny was exacting: many of their objections relate to claimed time of .1 or .2

hours.

         There may be room to debate whether each minute Broome’s counsel spent on the case

was absolutely necessary. But the role of the court is to review the fee petition for

reasonableness, not perfection:

                [T]rial courts need not, and indeed should not, become
                green-eyeshade accountants. The essential goal in shifting fees (to
                either party) is to do rough justice, not to achieve auditing
                perfection. So trial courts may take into account their overall
                sense of a suit, and may use estimates in calculating and allocating
                an attorney’s time.

Fox v. Vice, 563 U.S. 826, 838 (2011).

         The gist of defendants’ objections is that counsel over-litigated what is a simple claim

with a small amount of damages. This is a fair point as a general matter. In determining the

reasonableness of a fee, the court may consider the size of the fee in comparison to the size of

the award. Schlacher v. Law Offices of Phillip J. Rotche & Associates, P.C., 574 F.3d 852, 857 (7th

Cir. 2009) (“[A] district court may consider proportionality as one factor in determining a

reasonable fee.”). But the court of appeals has repeatedly rejected a rule that attorney fees are

necessarily unreasonable if they are greater, even significantly, than the plaintiff’s damages.

E.g., Anderson v. AB Painting and Sandblasting Inc., 578 F.3d 542, 545 (7th Cir. 2009) (“[W]e

have rejected the notion that the fees must be calculated proportionally to damages” (internal

quotations omitted)); Eddleman v. Switchcraft, Inc., 927 F.2d 316, 318 (7th Cir. 1991) (fee

                                                 6
        Case: 3:18-cv-00860-jdp Document #: 35 Filed: 04/15/19 Page 7 of 8



awards “should not be linked mechanically to a plaintiff’s award”). The court has explained

that “[f]ee-shifting would not discourage petty tyranny if attorney’s fees were capped or

measured by the amount in controversy.” Anderson, 578 F.3d at 545.

       In this case, a substantial portion of the blame for the size of the fees lies with

defendants themselves. See Anderson, 578 F.3d at 546–47 (in considering reasonableness of fees,

court may consider defendants’ conduct). In April 2018, Broome offered to settle the dispute

for $4,000, inclusive of fees and costs, but defendants rejected that offer. Dkt. 15-2.

Defendants now criticize Broome’s counsel for conducting research on potential defenses to

Broome’s claim, but it was defendants who prompted that research, contending in

correspondence that they would prevail on a “bona fide error” defense and accusing counsel of

acting in “bad faith.” Id.

       Defendants also object to Broome’s counsel spending 23 hours on their fee petition.

Although that is a significant amount of time, it turns out that it was time well spent.

Defendants’ opposition brief was 26 pages long, which undermines their contention that

counsel should have devoted fewer resources to the petition. Some of defendants’ arguments

were that counsel should have provided more evidence and explanation of their fees. Other than

a general assertion that the resources devoted to the fee petition were disproportionate,

defendants fail to identify any part of it that was unnecessary. When a defendant drives up

litigation costs through its own aggressive strategy, it cannot later object to counsel’s efforts to

do what is necessary to prevail. See BCS Servs., Inc. v. BG Investments, Inc., 728 F.3d 633, 642

(7th Cir. 2013) (declining to reduce fees when “[t]he defendants were hyperaggressive

adversaries” and “drove up the plaintiffs’ legal costs without justification”).




                                                 7
        Case: 3:18-cv-00860-jdp Document #: 35 Filed: 04/15/19 Page 8 of 8



       Two other issues remain. First, in their reply brief, Broome’s counsel asks for fees for

time spent on that brief. Specifically, they ask for 7 hours of Joy’s time ($3,150) and 4.5 hours

of Godbe’s time ($1,125). In light of the numerous issues that defendants raised in their

opposition brief, the court concludes that the requested time is reasonable.

       Second, Broome’s counsel asks the court to enter an amended judgment to reflect the

fee award. But a separate judgment is not needed for an award of attorney fees, Fed. R. Civ. P.

58(a)(3); Feldman v. Olin Corp., 673 F.3d 515, 516–17 (7th Cir. 2012), so the court will deny

that request.



                                            ORDER

       IT IS ORDERED that plaintiff Michael Broome’s motion for attorney fees and costs,

Dkt. 12, is GRANTED. Counsel for Broome is AWARDED $22,333.25 in attorney fees and

$446 in costs.

       Entered April 15, 2019.

                                            BY THE COURT:

                                            /s/
                                            ________________________________________
                                            JAMES D. PETERSON
                                            District Judge




                                               8
